      Case 2:13-cv-05306-DSF-AJW Document 198 Filed 02/13/17 Page 1 of 1 Page ID #:4086
                                                                   JS 6




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 MITCHELL JONES,                                             CASE NUMBER

                                                                       CV 13-5306 DSF
                                              PLAINTIFF(S)
                             v.
 COUNTY OF LOS ANGELES
                                                                       JUDGMENT ON THE VERDICT
                                                                           FOR DEFENDANT(S)
                                           DEFENDANT(S).



        This action having been tried before the Court sitting with a jury, the Honorable Dale S. Fischer     ,
District Judge, presiding; the issues having been duly tried and the jury having duly rendered its verdict.

         IT IS ORDERED AND ADJUDGED that the plaintiff(s):




take nothing; that the action be dismissed on the merits; and that the defendant(s):




recover of the plaintiff(s) its costs of action, taxed in the sum of                    .

                                                        Clerk, U. S. District Court



Dated: 2/13/17                                                  By /s/ Debra Plato
                                                                  Deputy Clerk

At: Los Angeles




cc:      Counsel of record
CV-44 (11/96)                         JUDGMENT ON THE VERDICT FOR DEFENDANT(S)
